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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


THE TRUSTEES OF PRINCETON             )
UNIVERSITY,                           )
                                      )
                  Plaintiff,          )
                                      )
v.                                    )
                                      )
U.S. DEPARTMENT OF EDUCATION, )
U.S. DEPARTMENT OF EDUCATION, )
OFFICE FOR CIVIL RIGHTS               )            Civil Action No. 1:17-cv-00485
                                      )
                                      )
                  Defendants,         )
                                      )
and                                   )
                                      )
STUDENTS FOR FAIR ADMISSIONS,         )
INC.,                                 )
                                      )
                  Proposed Defendant- )
                  Intervenors         )
____________________________________)

                       CORPORATE DISCLOSURE STATEMENT

       Pursuant to LCvR 7.1, Students for Fair Admissions, Inc. (“SFFA”) certifies the

following. SFFA is a non-profit corporation organized under the laws of Virginia. SFFA has no

parent corporation, and no publicly held corporation owns 10% or more of its stock.
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                                      Respectfully submitted,

                                      By: /s/ J. Michael Connolly

Dated: March 30, 2017                     J. Michael Connolly (D.C. Bar No. 995815)
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                                          Counsel for Students for Fair Admissions, Inc.




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 30th day of March 2017, I caused copies of the foregoing to

be served via the Court’s electronic filing system and electronic mail upon the following:

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                                                                    /s/ J. Michael Connolly
                                                                    J. Michael Connolly




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